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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

Ameer Alkayali

c/o The Pattakos Law Firm LLC
5324 Fleet Ave.

Cleveland, Ohio 44105

Weillin Feng

c/o The Pattakos Law Firm LLC
5324 Fleet Ave.

Cleveland, Ohio 44105

Kevin Kennelly

c/o The Pattakos Law Firm LLC
5324 Fleet Ave.

Cleveland, Ohio 44105

Plaintiffs,
vs.

Eric Kaler, President

Case Western Reserve University
c/o Peter Poulos

10900 Euclid Ave.

Adelbert Hall Room 311
Cleveland, Ohio 44106

Paul Owens, Chief of CWRU Police
c/o Peter Poulos

10900 Euclid Ave.

Adelbert Hall Room 311

Cleveland, Ohio 44106

CWRU Police officer Kurtis Bialowsky
c/o Peter Poulos

10900 Euclid Ave.

Adelbert Hall Room 311

Cleveland, Ohio 44106

CWRU Police officer Milo Drumm
c/o Peter Poulos

10900 Euclid Ave.

Adelbert Hall Room 311

Cleveland, Ohio 44106

Case No.

Judge

Complaint with Jury Demand

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CWRU Police officer Michael Jastatt
c/o Peter Poulos

10900 Euclid Ave.

Adelbert Hall Room 311

Cleveland, Ohio 44106

I. Introduction
1. This lawsuit is to address the shockingly unconstitutional conduct of Case Western Reserve
University (““CWRU”) officials against protesters who had gathered on the University’s campus as
part of a global protest movement in support of and solidarity with Palestinian civilians facing mass
murder, brutal violence, and mass displacement as a result of Israeli military operations in the Gaza
Strip.
2. On the morning of May 7, 2023, Plaintiff protesters had gathered near a mural on the
CWRU campus that had been expressly designated by the University as a “Spirit Wall”—a forum for
free expression—that had been painted by students with expressions of support and solidarity with
Palestinians vis a vis Israel’s actions in Gaza.
3. Defendant Eric Kaler, CWRU’s President—who has a well-documented history of
discriminating against students and others who express their First Amendment rights to criticize the
Israeli government, and, in particular, Israel’s discriminatory and deadly policies toward
Palestinians—had declared, falsely and contrary to basic logic and reason, that the basic expressions
of support for Palestinians that had been painted on the Spirit Wall constituted expressions of
“Anti-Semitism,” or, in other words, bigotry against Jews. Thus, the University, at Kaler’s
instruction, had hired painters to paint over the “spirit wall” to censor the pro-Palestinian messages
that were painted on it.
4. As the Plaintiffs, CWRU students, graduates, and community members who had joined the
protests, gathered in front of the Spirit Wall to prevent the painters from censoring its message,

Defendant CWRU Police officers, at the instruction of Kaler and Defendant Paul Owens, Chief of
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the CWRU Police, decided to send a message to the protesters that their expressions of support for
Palestinians would not be tolerated on the CWRU campus. They did so by instructing the painters
to spray paint over the Plaintiff protesters, coating their bodies with toxic spray-paint from industrial
sptay-painting machines as the Plaintiffs stood in front of the Spirit Wall.
5. These actions by CWRU officials, acting under color of Ohio law, constitute clear and
egregious violations of Plaintiffs rights to free expression under the First Amendment, and to be
free from the use of excessive force by government agents. Kaler, Owens, and the responsible
CWRU Police officers who acted at their instruction are therefore all liable to Plaintiffs for the
unlawful deprivation of Plaintiffs’ constitutional rights under the First and Fourth Amendments to
the U.S. Constitution as set forth herein.

II. Parties
6. Plaintiffs Kevin Kennelly, and Weillin Feng are residents of Cuyahoga County, Ohio and
current or former students of CWRU who participated in the pro-Palestine protests at CWRU
during the 2023-24 academic year.
7. Plaintiff Ameer Alkayali is also a resident of Cuyahoga County, and lives across the street
from the CWRU campus. Since 2001, Alkayali’s family has owned and operated The Alegebra Tea
House on Murray Hill, a restaurant and cafe that is a popular stop for CWRU students and
community members.
8. Defendant Eric Kaler, sued in his individual and his official capacity, was, at all relevant
times, President of CWRU, an Ohio-incorporated not-for profit corporation which offers accredited
undergraduate and graduate degrees in a large array of subject areas, as well as conducting scientific
and medical research, and owns property in Cuyahoga County, Ohio where the complained-of
events took place.

9. Defendant Paul Owens, sued in his individual and official capacity, was, at all relevant times,
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Chief of the CWRU Police Department, a police force operating with full legal authority to enforce
the laws of the City of Cleveland and the State of Ohio, and had responsibility for implementing
public safety and law enforcement policies instituted by Defendant Kaler as well as in training and
supervising the lawful exercise of authority and enforcement of law by his officers.
10. Defendant CWRU Police officer Kurtis Bialowsky, sued in his individual capacity, was at all
relevant times employed by CWRU as a peace officer maintaining order and enforcing the laws of
the State and CWRU policies and procedures for public safety on the grounds of CWRU, acting
under color of state law.
11. Defendant CWRU Police officer Milo Drumm, sued in his individual capacity, was at all
relevant times employed by CWRU as a peace officer maintaining order and enforcing the laws of
the State and CWRU policies and procedures for public safety on the grounds of CWRU, acting
under color of state law.
12. Defendant CWRU Police officer Michaeal Jastatt, sued in his individual capacity, was at all
relevant times employed by CWRU as a peace officer maintaining order and enforcing the laws of
the State and CWRU policies and procedures for public safety on the grounds of CWRU, acting
under color of state law.

III. Jurisdiction and Venue
13. This Court has federal-question jurisdiction over this action pursuant to 28 U.S.C. § 1331 for
claims raised under 42 U.S.C. § 1983 and supplemental jurisdiction pursuant to 28 U.S.C. § 1367 for
claims raised under Ohio law.
14. This Court has jurisdiction over Defendants because they are residents and/or employees of
political subdivisions, of the State of Ohio, and at all times were acting under color of state law.
15. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the acts upon which the

claims in this litigation are based and the damages resulting therefrom took place in Cuyahoga
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County, Ohio.

IV. Facts
16. A well-publicized protest movement erupted nationally and internationally in the wake of the
Israeli government’s bombardment and siege of the Gaza Strip following an October 7, 2023 attack
on Israel by Palestinian forces resisting Israel’s occupation of Gaza.
17. Many of these protests took place student “encampments” on university and college
campuses across the U.S., which were designed to highlight the precarious refugee status of
displaced Palestinians, and encourage Americans and American Universities to withhold their
support for the Israeli regime as it carried out such policies.
18. These protesters were particularly concerned that (A) tens of thousands of innocent
Palestinian civilians, including tens of thousands of children, as well as numerous journalists, medical
professionals, and aid workers, have been killed by Israel’s bombing campaign in Gaza, and at a rate
unprecedented in modern history; (B) more than half of the buildings in Gaza have been reduced to
tubble by Israel’s bombs, as well as critical civil infrastructure, creating a humanitarian crisis for the
more than 2 million people confined by the Israeli government within Gaza’s narrow borders; and
(C) Palestinians do not have equal rights under the law within Israel's borders (including within the
heavily blockaded Gaza Strip), and are instead subject to a regime that discriminates against them
based on their ethnicity and religious beliefs.
19. The student protests attracted extensive press coverage, bringing national attention as well as
along with hysterical and intemperate response by University officials who are either directly aligned
with the Israeli government’s policies toward Palestinians, or who fear being smeared by
propagandists as “anti-Semitic” if they failed to quash pro-Palestinian voices.
20. An encampment was established by protesters at CWRU, on the circular lawn in front of

Kelvin Smith Library, where the University expressly permitted this protest activity, designing it as a
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public forum for First Amendment-protected conduct.

21. Plaintiffs separately and individually participated in peaceful protests at the CWRU
encampment in the days leading up to May 7, 2024.

22. On the night of May 6, 2024 students painted a mural on the Spirit Wall located between
CWRU’s Thwing Center and Tinkham Veale University Center, which included, as noted in reports
at Cleveland.com, phrases such as “I dream of breaking the siege” and “come together in peace” as
well as statistics reporting the number of child Palestinian deaths since the commencement of the
attack on Gaza.' Earlier in the day, activists also painted on the Advocacy Wall. which, as the name
implies, serves the “primary purpose” of allowing students “to express and advocate for issues that
are important to them” per the current Student Advocacy and Spirit Wall Policy of CWRU, updated
October 14, 2024, and available at https://case.edu/studentlife/university-policies/student-
advocacy-and-spirit-wall-policy (last accessed May 14, 2025). The Spirit Wall and Advocacy Wall
were expressly designated by CWRU as fora for First Amendment-protected expressive conduct.
23. In a May 7 email to students, CWRU President Eric Kaler declared that “protesters at the
non-sanctioned encampment on Kelvin Smith Library Oval painted an advocacy wall near Eldred
Hall with language the university administration and many members of our community view as
threatening, intimidating and antisemitic.” The email added that “later in the evening, the protesters
painted the spirit wall near Thwing Center with language that was less threatening but still

intimidating to some in our community.” In response, CWRU determined to paint over the

1 Molly Walsh, “Painters spray-painted over pro-Palestinian protesters at Case Western Reserve
University,” CLEVELAND.COM, May 8, 2024 (updated May 13, 2024), available at

painted- over-pro-palestinian-protesters.html (last accessed May 14, 2025).
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supposedly offending material and either through a pre-existing or new contract, engaged KC
Painting and/or Craftsman to carry out the task.’

24. Kaler’s email did not speficially refer to any material painted on either the Spirit Wall or the
Advocacy Wall that could have been reasonably construed to be “Anti-Semitic,” as no such material
was ever painted on either Wall.

25. When students learned that the university intended to paint over the walls they gathered
around the Spirit Wall around midnight, and advised Calo and Doe, who were present to fulfill the
contact between CWRU and KC Painting and/or Craftsman, and CWRU Police officers that they
intended to prevent the painting. Calo and Doe left, after discussing plans to return with officers.
26. Plaintiffs Feng and Alkayali learned that the painters intended to return around 5:00 AM of
May 7, anticipating limited student presence to deter them. Feng and Alkayali accordingly arrived at
the Spirit Wall before 5:00 the next morning and found the painters and CWRU Police officer
Defendants Bialowsky, Drumm, and Jastatt preparing to paint over the wall.

27. As anticipated, a small number of students were present at the Spirit Wall, including
Plaintiffs Feng and Alkayali. Plaintiff Kevin Kennelly, who was then preparing for the last exams of
his undergraduate career, had spent the night working on an assignment for finals week. As he
walked back to his home he passed the Spirit Wall and saw the students, the painters, and CWRU
Police officer Defendants gathered around the wall. He stopped to watch.

28. When the Police and painters arrived at the Spirit Wall around 5:00 AM they were obviously
prepared to paint over the mural. The painters had paint spraying machines. The Police Defendants
were uniformed, armed peace officers under Ohio law. Cleveland Division of Police General Police
Order 4.03.04, effective July 19, 2021, provides that “CWRUPD officers have the same authority as

Division officers . . . [o]n property expressly owned, leased, or contracted by Case Western Reserve

* Walsh, fn, supra.
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University.”?

29. CWRU Police were thus present as representatives of the CWRU administration and
President Kaler, and acting under color of state law as peace officers pursuant to R.C. 2935.01(B).
The painters were also agents of CWRU and its administration through the contract with KC
Painting and/or Craftsman.

30. Plaintiffs Feng, Kennelly, and Alkayali separately decided to stand against censorship of the
messages on the Spirit Wall and to block the Defendant Painters from covering the mural. They
stood in a line across the wall, within inches of the wall.

31. By this point, the CWRU Police officer Defendants were speaking over radio or phone with
Kaler, Owens, and/or agents of Kaler or Owens to receive instructions on how to proceed.

32. The painters, seeing Plaintiffs in position, initially balked at painting over them. Calo asked
Defendant officers if the CWRU Police officers would move the Plaintiffs. The officer Defendants
declined to do so.

33. The painters asked what they should do, to which Officer Drumm replied with words to the
effect of, “if they don’t move, it’s on them.” On video Officer Drumm can be heard stating to the
painters that “we’re just advising them that they’re gonna get paint on ‘em . . . we’re just here.””*
Officer Drumm also advised Plaintiffs not to touch the paint sprayers, as they were dangerous.

34. Officer Defendants thus, while acting under color of law, asserted authority over Plaintiffs,
seized them, and applied force against them within the meaning of the Fourth Amendment of the
United States Constitution, by ordering the painters to paint over the Plaintiffs with toxic spray-

paint after Plaintiffs declined to make the false choice between avoidance of physical attack and

> Available at https://www.clevelandohio.gov/sites/clevelandohio/ files /policies-
procedures /4.03.04%20Protocol%20-
%20Case%20Western/20Reserve%20University/20Police.pdf (last accessed May 14, 2025).

* https://www.youtube.com/watch?v=hygwau-rKNo (last accessed May 14, 2025).
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lawful protest.

CWRU Officer Milo Drumm: ‘We're just here.”

35. Doe, under the direct supervision and authorization of Calo and the Defendant officers,

then proceeded to apply paint to the wall, and to the bodies of Plaintiffs, one after the other.
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Footage shared by protestor ©

Contractors spray-paint
pro-Palestinian protesters
at Case Western Reserve
University

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Contractors spray-painted over pro-Palestinian protesters at Case Western Reserve

University
© cleveland.com @ (bk Gp ene
152K subscribers
36. Plaintiffs remained in front of the mural after being painted on, until the painters determined

that they could not paint over the rest of the mural with Plaintiffs still standing in front of it, and
resolved to return later.
37. All three Plaintiffs were coated by the toxic spray paint. They then left the scene to attempt

to wash off the paint. Officer Defendants did nothing to protect the Plaintiffs from being sprayed
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by CWRU’s painters, and in fact expressly instructed the painters that they could discharge spray
paint on the Plaintiffs, also warning Plaintiffs not to touch the painters.

38. These actions by the Officer Defendants are consistent with CWRU’s policy of using
physical force to remove student protestors and to enforce a policy of falsely equating support for
Palestinian or criticism of the Israeli government’s policies toward Palestinians with antisemitism in
order to justify said force.

39. Many CWRU students and other witnesses have taken note of this policy, even before the
events of October 7, 2024 led to an escalation of this conflict.

40. For example, on November 11, 2022 the CWRU campus newspaper, The Observer, published
an editorial by staff writer Milo Vitter criticizing Kaler’s public response to a resolution passed by
CWRU’s Undergraduate Student Government calling for “boycott, divestment, and sanctions”
against Israel regarding its policies toward Palestinians. ‘This resolution had prompted Kaler to send
an email to the entire CWRU community calling this resolution “anti-Semitic” and “an aggression
towards the Jewish members of our community.” In criticizing Kaler’s response, Vitter noted the
obvious difference “between antisemitism and legitimate criticism of Israel” in discussing a
resolution passed by CWRU’s Undergraduate Student Government “demanding that Case Western
Reserve University divests from companies that are complicit in the genocide of Palestinians in
Israel.” Vitter’s piece further specified that this resolution “begins by summarizing the offenses that
Israel has committed,” including “the blockading of the Gaza strip, displacement of Palestinians by
government-sanctioned settlement in the West Bank, targeted killings of Palestinians and more,” and

then stated “that CWRU has previously participated in a boycott of Sudan” based on similar

° Milo Vitter, “Eric Kaler’s statement about USG’s Israel resolution is disingenuous,” THE
OBSERVER, Nov. 11, 2022, available at https://observer.case.edu/cric-kalers-statement-about-usgs-
israel-resolution-is-disingenuous/ (last accessed May 14, 2025).
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“human rights violations.” Finally, Vitter noted that “the tactic of calling antisemitism whenever
Israel is criticized—no matter the extent to which the claims are actually antisemitic—has long been
used to justify an otherwise indefensible state that regularly and systematically engages in human
rights violations, and it is a major point of contention among Jewish communities (who do not
monolithically support the Israeli government).”

41. A November 11, 2022 report by Ideastream® also noted Kaler’s “condemn[ation]” of the
resolution as being “profoundly anti-Israel and profoundly anti-Semitic,” as well as Kaler’s claims
that a vote on the resolution was an “aggression toward the Jewish members of our community,”
and that “undoubtedly [the resolution] promotes anti-Semitism” because it calls for disinvestment of
“naive list of companies.” This Ideastream article also quotes a CWRU student as stating that “[t]he
fact that [Kaler] calls [the resolution] antisemitic is just a slap in the face to actual antisemitism.”
This student also took note of Kaler’s biased approach in addressing this conflict on campus, as he
“chose to meet with Jewish students and the Hillel Organization, yet completely ignored talking to
any Muslim/Middle Eastern students or associations.” The article further discusses Kaler’s history
of opposing Israeli disinvestment initiatives, citing his 2013 letter as University of Minnesota
President when he wrote that Boycott, Disinvestment and Sanctions movements “undermine
academic freedom.”

42. One week later, on Nov. 18, 2022, the Observer published another piece, this one by its
Executive Editor Shreyas Banerjee, titled “Kaler’s email puts CWRU and USG in national spotlight,

bringing risk to students.” This article illustrated Kaler’s bias by noting his ties to The American

° Connor Mortis, “Case president criticized for calling student antisemitic over Israel divestment
push,” IDEASTREAM PUBLIC MEDIA, Nov. 11, 2022, available at
https://www.ideastream.org/news /education/2022-11-11/case-western-president-criticized-for-
calling-students-antisemitic-over-israel-divestment-push (last accessed May 14, 2025).

’ Shreyas Banerjee, Kaler’s email puts CWRU and USG in national spotlight, bringing risk to
students,” THE OBSERVER, Nov. 18, 2022., available at https://observer.case.edu/kalers-email-puts-
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Jewish Committee (AJC), “a national Jewish advocacy group,” that “praised” Kaler’s “bravery,”
“courage[,] and strong moral vision” “in clearly and forcefully condemning the undergrad student
government,’ while also noting that Kaler “is an alumnus of AJC’s ‘Project Interchange’ program,
[who] participated in an AJC delegation to Israel in 2018 to meet with Israeli officials, policy-makers
and educators.” Banerjee’s article also reported that “multiple [CWRU] professors have expressed
concern regarding [Kaler’s] statement and the position it has put CWRU students in,” with one
professor “compart[ing] Kaler’s email with ‘dous[ing] [a fire] with kerosene.” Philosophy professor
Jeremy Bendik-Keymer was quoted as criticzing Kaler’s email “and threats to USG officers” as
“clearly add[ing] fuel to the fire,” “legitimiz[ing] an extreme and adversarial, even existentially
threatening, interpretation of the situation,” and “put|ting] students at increased risk” in a manner
that is “unacceptable for a college president to do.” “Some faculty are scared of the president,” the
Professor added, “with some saying that they will not publicly comment out of fear of reprisal
during [promotion and tenure] review and anonymous letters have begun to circulate.”

43. By November 6 of 2023, “hundteds of [CWRU] community members”® participated in a
walkout organized by several CWRU student groups, including the Black Student Union, had
“organized a walk-out in protest of university President Eric Kaler, arguing he has divided the

campus by failing to acknowledge Palestinian lives lost and Israeli war crimes during the ongoing”

conflict.’ This walk-out “also called attention to the impact of the Israel-Hamas [conflict] on campus

cwtu-and-use-in-national-spotlight-bringing-risk-to-students/ (last accessed May 14, 2025).

* Téa Tamburo, “CWRU community walks out on university’s Israel-Hamas war response,” THE
OBSERVER, Nov. 10, 2023, available at https://observer.case.edu/cwru-community-walks-out-on-
unliversitys-israel-hamas-war-response/ (last accessed May 14, 2025).

” Connor Mortis, “Case Western Reserve University students walk out over school president’s stance
on Israel-Hamas war,” IDEASTREAM PUBLIC MEDIA, Nov. 6, 2023, available at
https://www.ideastream.org/education/2023-11-06/case-western-reserve-university-students-walk-
out-over-school-presidents-stance-on-israel-hamas-war (last accessed May 14, 2025) (internal
punctuation marks omitted).
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and an alleged lack of support for Palestinian students from the campus administration.” An
Ideastream reporter’? quoted CWRU Professor Ayesha Bell-Hardaway, who attended this walk-out,
as stating that she wished the University were doing more to make sure all students “feel safe and
heard.” And an Observer report about this protest'' quoted numerous students, including those who
noted that Kaler’s public statements about Israel “make it ‘seem like he doesn’t care about the
Muslim community or the Palestinian community especially.” As one student noted, “[Kaler’s]
administration has repeatedly tried to silence [pro-Palestine voices], and that is not okay.”

44, Since the beginning of the protests after October 7, 2023, Kaler has continued to pursue
policies which muted, censored, and elided pro-Palestinian viewpoints, such as those in the mural on
the Spirit Wall, under the guise of protecting students from “antisemitism.” Enforcement of Kaler’s
policies, and training to ensure such enforcement was lawful and within constitutional bounds, was
the direct responsibility of Defendant Owens, with Kaler the ultimate decistonmaker on the content
of the policies.

45. In a letter published at Cleveland.com on May 23, 2024, a Jewish resident of Cleveland named
Hannah Morris wrote: “This month, I’ve seen my faith shared between students of all religions with
kindness. But Case Western Reserve University President Eric Kaler misrepresented my faith by
saying the CWRU encampment fostered hate. Kaler is exploiting a longstanding misconception that

calling for Palestinian liberation is antisemitic.”

 C. Mortis, fn 9, supra.
" Tamburo, fn 8, supra.

* Hannah Mortis, “Misguided allegations of antisemitism at CWRU do not keep Jews or
Palestinians safe,” CLEVELAND.COM, May 23, 2024, available at
https://www.cleveland.com/letters/2024/05/misguided-allegations-of-antisemitism-at-cwru-do-
not-keep-jews-or-palestinians-safe.html (last accessed May 14, 2025).
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46. By July of 2024, the Cleveland & Northern Ohio Chapter of the Council on American-
Islamic Relations (CAIR-Ohio) filed a Title VI complaint against CWRU “following months of
alleged targeting and intimidation against students involved in [the] Students for Justice in Palestine
[movement].”"* This complaint details CWRU’s “pattern of different treatment when it comes to
Palestinian students, as well as their affiliates and allies,” whereby the University has not only
“refus[ed] to engage with these students,” but has actively “smear[ed] them in widespread campus
emails,” “fail[ing] to account for their safety, well-being, and learning environment,” and
“deliberately act[ing] against them.” More specifically, CAIR’s complaint asserts that CWRU has
targeted students in retaliation for their political speech and support for Palestinian rights,
highlighting multiple incidents where students faced disciplinary actions, including suspensions and
bans from campus due to their participation in protests related to Gaza. The CAIR complaint alleges
that CWRU imposes a “Palestine Exception,” whereby students, faculty, and staff who advocate for
Palestinian liberation are subjected to heightened scrutiny, discrimination, and retaliation, detailing
the suspension of student leaders, and the general crackdown CWRU has imposed on Pro-Palestine
protest activities.

47. On November 18, 2024, national publication The Intercept published an article titled
“Palestine Exception’ Looms Over Campus Gaza Protest Battles,” highlighting CWRU’s treatment

of pro-Palestinian students and protesters on its campus.'* This article took note of various “interim

’ CAIR Ohio, “CAIR-Ohio Files Title VI Complaint Against Case Western Reserve University on
Behalf of Palestinian Students,” CAIR, July 22, 2024, available at
https://www.cair.com/press_teleases /cait-ohio-files-title-vi-complaint-against-case-western-
reserve-university-on-behalf-of-palestinian-students/ (last accessed May 14, 2025).

“4 Akela Lacy, Yazan Mohammad, “From campus to the Coutts, the “Palestine Exception” Rules
University Crackdowns,” ‘THE INTERCEPT, Nov. 18, 2024, available at
https://theintercept.com/2024/11/18/gaza-protest-campus-palestine-exception/ (last accessed
May 14, 2025).
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suspensions” and “warnings” and orders barring graduates from campus that CWRU issued to those
involved in the Palestine protests in the spring of 2024. The article also notes that Yousef Khalaf,
president of CWRU’s Students for Justice in Palestine chapter, was suspended for the fall semester
for having chanted, “From the river to the sea, Palestine will be free,” which CWRU deemed to be
“intimidating behavior.”
48. After the Plaintiffs were spray-painted by the CWRU contractors on May 7, 2024, video of
the incident went viral and prompted news coverage on local television stations. In the face of the
growing public outcry against the incident, Kaler issued an email at 7:15 PM on May 7, 2024,
declaring as follows:

I have reviewed video footage, which depicts students blocking the

wall as a third-party contractor spray painted directly onto protesters

as he attempted to finish painting the wall, and I am disturbed by

what occurred.

Let me be clear: No students—or any individuals—should ever be

treated this way, especially on a campus where our core values center

on providing a safe, welcoming environment. This is not who we are

as an institution, and I am deeply sorry this ever occurred.

The university will continue to fully investigate these actions and hold

individuals responsible for this behavior, including the failure of

our own officers to intervene. (emphasis added).
49. Plaintiffs have, to date, never been interviewed as part of any investigation into the events of
May 7, 2024. Plaintiff Alkayali attempted to file a report of the incident with the CWRU Police on or
about May 7, 2024. CWRU Police advised that they would investigate and would contact him. They
have never contacted him since.
50. CWRU employees, agents, or representatives eventually fully painted over the mural.
51. The CWRU Police officer Defendants, acting under color of law, not only failed to prevent

the painters from spray-painting over the Plaintiffs, they expressly authorized the painters to

physically assault Plaintiffs with spray-paint as if such conduct were lawful, constitutional, and
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appropriate. By these actions the Defendant officers asserted authority over Plaintiffs with a false
choice between lawful protest including physical attack, or allowing their First-Amendment-
protected protest activity to be chilled by threats of violence.
52. Defendant Kaler, as the ultimate decisionmaker regarding of the content of CWRU policy
and procedure regarding student expression and First Amendment protection, acted under color of
law to deprive Plaintiffs of their constitutional rights by implementing a policy of censoring and
punishing dissent expressive of pro-Palestinian views, including by expressly authorizing, approving,
and knowingly acquiescing to the painters actions in coating the Plaintiffs with toxic spray-paint.
Kaler also possesses managerial and supervising authority over the CWRU Police, including
Defendant Chief Owens, who reports directly to Kaler.
53. Defendant Police Chief Owens and the CWRU Officer Defendants, acting under color of
state law, and acting to enforce Kaler’s discriminatory policy, authorized, caused, and ratified the
actions of the painters in spraying toxic paint on the Plaintiffs in order to force them to surrender
their protest of the University’s actions regarding the Spirit Wall.
54. As a direct and proximate result of the actions of Defendants, Plaintiffs suffered harm and
Defendants are liable for damages under 42 U.S.C. § 1983.
V. Causes of Action
First Cause of Action
Excessive Force
Fourth Amendment and 42 U.S.C. § 1983
(against all Defendants)
55. Plaintiffs reincorporate the foregoing paragraphs as if wholly rewritten herein.
56. This cause of action is asserted against all Defendants named in this Complaint, in their
respective individual capacities.
57. Plaintiffs possess a right under the Fourth Amendment to the United States Constitution to

be free from the unreasonable exercise of force against their persons that was clearly established as
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of the dates at issue in this Complaint.
58. Defendants caused, authorized, and ratified the painters’ actions in physically attacking and
battering Plaintiffs by coating their respective bodies with toxic spray-paint in knowing violation of
Plaintiffs’ Fourth Amendment right to be free from excessive force. The painters would not have
taken these actions if not for the Defendants’ conduct, which was taken under color of state law and
within the scope of their duties as law enforcement officers or executives with supervisory power
and authority over law enforcement officers, and which was objectively unreasonable in light of the
facts and circumstances confronting the officers at the time.
59. Reasonable officers in the respective positions of these Defendants would not have initiated
any such use of force against the Plaintiffs.
60. As a direct and proximate cause of these actions by these Defendants, which reflect wanton
and intentional disregard for Plaintiffs’ rights, Plaintiffs have suffered economic and non-economic
damages for which these Defendants are liable. Plaintiffs are also entitled to punitive damages based
on this unlawful and unconstitutional conduct.
Count Two
Retaliation
First Amendment and 42 U.S.C. § 1983
(against all Defendants)
61. Plaintiffs reincorporate the foregoing paragraphs as if wholly rewritten herein.
62. This cause of action is asserted against all Defendants named in this Complaint, in their
respective individual capacities.
63. Plaintiffs each engaged in First Amendment-protected conduct—including in expressing
support for Palestinians, and in protest against censorship of their political views—when they stood
in front of the Spirit Wall to prevent it from being repainted. The First Amendment right to protest
on university campuses, particularly on a portion of university property that was designated as a

forum for protest activity as the Spirit Wall was here, was well-established as of the date of this
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incident.
64. The Defendants’ actions in authorizing, approving, and knowingly acquiescing in the
painters’ actions in spray-painting over the Plaintiffs’ bodies were motivated in substantial part by a
desire to punish the Plaintiffs for exercising their First Amendment rights. Defendants knew, when
they authorized, approved, and acquiesced to such conduct that they would be adversely affecting
the Plaintiffs by such action, and acted with intent to adversely affect the Plaintiffs.
65. The Defendants were acting under color of law at all relevant times, and took official action
under color of law in authorizing, approving, and acquiescing to the painters spray-painting the
Plaintiffs.
66. A person of ordinary firmness would be deterred from exercising their First Amendment
rights if such person knew that officers or agents of the State would be permitted to coat their
bodies in toxic spray paint in retaliation for such exercise of First Amendment rights. See Bed/ v.
Jobnson, 308 F.3d 594, 603 (6th Cir. 2002).
67. As a direct and proximate result of the Defendants’ actions, Plaintiffs have suffered
economic and non-economic damages for which these Defendants are liable. Plaintiffs are also
entitled to punitive damages based on this unlawful and unconstitutional conduct.
VI. Prayer for Relief
Wherefore, Plaintiffs respectfully pray for judgment against Defendants in an amount in excess
of $75,000 together with punitive damages, attorneys’ fees, costs, expenses, and any other relief to
which Plaintiff may be entitled or that the Court deems equitable and just.
VII. Jury Demand
Plaintiffs demand a jury trial on all issues within the Complaint.
Respectfully Submitted,

[sf Peter Pattakos
Peter Pattakos (0082884)

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